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 6   Attorney for Defendant
 7   GARY ROBERTS

 8
 9                        IN THE UNITED STATES DISTRICT COURT
10                      FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12                                                     Case No.: 2:17-CR-00064 JAM
     UNITED STATES OF AMERICA,
13                                  Plaintiff,         REQUEST AND ORDER TO FILE
                                                       UNDER SEAL: EXHIBITS A AND D IN
14           v.                                        SUPPORT OF MOTION TO DISMISS
15                                                     POLE CAM EVIDENCE
     GARY ROBERTS,
16                                  Defendant.         Date: April 2, 2019
                                                       Time: 9:15 am
17                                                     Judge: The Honorable John A. Mendez
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19
             Defendant GARY ROBERTS, in an abundance of caution, requests to file EXHIBIT A,
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     “All Writs Act Application,” and EXHIBIT D, “Agent Trang Le Affidavit” in support of his
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     Motion to Suppress Pole Cam Evidence. The two exhibits were provided to Roberts in
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     discovery by the government as part of the government’s case against him. Both documents
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     relate to filings originally made under seal by the government. To the extent the documents
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     continue to be under seal at this time, Roberts’ requests that these documents remain sealed in
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     support of his Motion to Suppress
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             All documents requested to be filed under seal have been provided to all codefendants
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     in this case.
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                                                   1
     Request to File Under Seal
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     Dated: March 6, 2019                                        /s/ ETAN ZAITSU
 1
                                                                 ETAN ZAITSU
 2                                                               Attorney for Defendant
                                                                 GARY ROBERTS
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 4
                                                ORDER
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 6          Pursuant to Local Rule 141 (b) and based upon the representation contained in the

 7   defendant’s Request to Seal, IT IS HEREBY ORDERED that the defendant’s EXHIBITS A

 8   and D, filed on or about March 5, 2019, in support of his Motion to Suppress Pole Cam

 9   Evidence, shall be SEALED until further order of this Court.

10          It is further ordered that access to the sealed documents shall be limited to the counsel

11   for the defendants in this case and the government.

12          The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S.

13   District Court for the District of Oregon, 920 F .2d 1462 (9th Cir. 1990). The Court finds that,

14   for the reasons stated in the defendant’s request, sealing the defendant’s documents serves a

15   compelling interest.

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17   DATE: 3/7/2019                               /s/ John A. Mendez________________________
                                                  THE HONORABLE JOHN A. MENDEZ
18                                                UNITED STATES DISTRICT COURT JUDGE
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     Request to File Under Seal
